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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


TODD M. HARPER, in his personal capacity and
in his official capacity as a Member of the National       Civil Action No. 1:25-cv-01294-AHA
Credit Union Administration Board, and TANYA
F. OTSUKA, in her personal capacity and in her
official capacity as a Member of the National
Credit Union Administration Board,

                                Plaintiffs,


                    -against-

SCOTT BESSENT, in his official capacity as
Secretary of the Treasury, LARRY FAZIO, in his
official capacity as Executive Director of the
National Credit Union Administration, KYLE S.
HAUPTMAN, in his official capacity as Chairman
of the National Credit Union Administration Board,
TRENT MORSE, in his official capacity as Deputy
Assistant to the President and Deputy Director of
the White House Presidential Personnel Office, and
DONALD J. TRUMP, in his official capacity as
President of the United States,

                                Defendants.




              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                       AND JUDGMENT ON THE MERITS

     Plaintiffs Todd M. Harper and Tanya F. Otsuka respectfully move for the entry of a

preliminary injunction and a judgment on the merits under Federal Rule of Civil Procedure

65(a)(2). The National Credit Union Administration Board is scheduled to hold a meeting on

May 22, 2025, at 10:00 a.m. ET, without Plaintiffs, who remain Members of the Board under

federal law but were unlawfully and purportedly terminated, thus leaving the Board without a




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lawful quorum. Plaintiffs respectfully request expedited relief to resume their statutory duties

and to restore the Board’s ability to conduct business as Congress intended. For the reasons

stated in the accompanying memorandum, Plaintiffs’ motion should be granted on an expedited

basis, and the Court should enter judgment on the merits in favor of Plaintiffs. Should the Court

not issue its merits decision before the NCUA Board’s next meeting on May 22, 2025, Plaintiffs

respectfully request a preliminary injunction before that date. A proposed order is attached.




                                                     Respectfully submitted,


Dated:      April 29, 2025                           /s/ Vincent Levy
            New York, New York                       Vincent Levy (NY0487)
                                                     Denis D. Metin (Admission forthcoming)
                                                     Christopher M. Kim (Admission forthcoming)
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